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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                          NORTHERN DIVISION

AMERICAN FAMILY MUTUAL      )
INSURANCE COMPANY S.I.      )
                            )
     Plaintiff,             )
                            )
v.                          )                   Case No. 2:24CV43 HEA
                            )
STEVEN SIMERL, CASE SIMERL, )
and NORTHEAST MISSOURI      )
ELECTRIC POWER COOPERTIVE, )
                            )
     Defendants,            )

                 OPINION, MEMORANDUM AND ORDER

        This declaratory judgment matter is before the Court on Plaintiff’s motion

for summary judgment, [Doc. No. 36]. Defendant Northeast Missouri Electric

Power Cooperative(“Northeast”)opposes the motion and it is fully briefed. For the

following reasons, the motion for summary judgment should be granted.

                                   Background

      This action arises from an underlying personal injury lawsuit filed against

Northeast by defendant Case Simerl cause number 19SE-CC00007 captioned

Simerl v. Northeast Missouri Electric Power (the “State Action”). Case alleged

Northeast was liable for damages arising from bodily injury he incurred in the

accident.



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      Northeast filed a third-party action against Steven Simerl for claiming he

was careless, negligent, and or violated other duties arising under Missouri law.

Northeast dismissed its third-party action against Steven, however, the dismissal

was not with prejudice.

                            Summary Judgment Standard

      The standards applicable to summary judgment motions are well settled.

Pursuant to Federal Rule of Civil Procedure 56(c), a court may grant a motion for

summary judgment if all of the information before the court shows “there is no

genuine issue as to any material fact and that the moving party is entitled to a

judgment as a matter of law.” See Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106

S.Ct. 2548, 91 L.Ed.2d 265 (1986).

      The initial burden is placed on the moving party. City of Mt. Pleasant, Iowa

v. Associated Elec. Co-op., Inc., 838 F.2d 268, 273 (8th Cir.1988) (the moving

party has the burden of clearly establishing the non-existence of any genuine issue

of fact that is material to a judgment in its favor). Once this burden is discharged, if

the record shows that no genuine dispute exists, the burden then shifts to the non-

moving party who must set forth affirmative evidence and specific facts showing

there is a genuine dispute on a material factual issue. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 249, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).




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      Once the burden shifts, the non-moving party may not rest on the allegations

in his pleadings, but by affidavit and other evidence must set forth specific facts

showing that a genuine issue of material fact exists. Fed.R.Civ.P. 56(e); Herring v.

Canada Life Assur. Co., 207 F.3d 1026, 1029 (8th Cir.2000); Allen v. Entergy

Corp., 181 F.3d 902, 904 (8th Cir.1999). The non-moving party “must do more

than simply show that there is some metaphysical doubt as to the material facts.”

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586, 106

S.Ct. 1348, 89 L.Ed.2d 538 (1986). A dispute about a material fact is “genuine”

only “if the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Herring, 207 F.3d at 1029 (quoting Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986)). A party resisting summary judgment has the

burden to designate the specific facts that create a triable question of fact, see

Crossley v. Georgia–Pacific Corp., 355 F.3d 1112, 1114 (8th Cir.2004), and “must

substantiate allegations with sufficient probative evidence that would permit a

finding in the plaintiff's favor.” Davidson & Assocs. v. Jung, 422 F.3d 630, 638

(8th Cir.2005).

      With this standard in mind, the Court accepts the following facts as true for

purposes of resolving this motion for summary judgment.

      The following findings of fact are taken from Plaintiff's Statement of

Uncontroverted Facts.


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American Family is an insurance company incorporated under the laws of the State

of Wisconsin with its principal place of business in Madison, Wisconsin. Steven

and Case Simerl are Missouri citizens. Northeast Power is a Missouri citizen, since

it is registered and chartered in the State of Missouri, and its principal place of

business is located in Missouri.

      American Family issued a “Missouri Homeowners Policy,” Policy No. 24-

BN8204-01, with a policy period from May 1, 2017 to May 1, 2018, to named

insured “Steven F. and Lori A. Simerl,” which provided various coverages, subject

to all of its terms and conditions, including Personal Liability coverage in Section

II, which is the subject of this action. (the “Policy”).

      The Policy’s declarations identify the named insured’s address as “7912

Hartman Farm Rd., Fulton, MO 65251.” The Policy includes an “Intra-Insured

Suits,” excluding coverage for “…bodily injury to any insured.” The policy reads

as follows: “Intra-insured Suits. We will not cover bodily injury to any insured.”

The Policy provides in pertinent part, as follows:

***

NAMED INSURED
SIMERL, STEVEN F & LORI
A 7912 HARTMAN FARM RD
FULTON, MO 65251-7132

***
                                   DEFINITIONS


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The following words in this policy have defined
meanings. They will be printed in bold type.

1. Bodily Injury means bodily harm, sickness or disease. It includes resulting loss
of services, required care and death.

Bodily injury does not include:
      a. any of the following which are communicable: disease,
      bacteria, parasite, virus or other organism which are
      transmitted by any insured to any other person;
      b. the exposure to any such communicable disease, bacteria,
      parasite, virus or other organism; or
      c. emotional or mental distress, mental anguish, mental
      injury, or any similar injury unless it arises out of actual
      bodily harm to the person.

***

5. Insured
      a. Insured means you and, if residents of your household:
      (1) your relatives;

***

LIABILITY COVERAGES - SECTION II

***

COVERAGE D - PERSONAL LIABILITY COVERAGE

We will pay, up to our limit, compensatory damages for which any
insured is legally liable because of bodily injury or property
damage caused by an occurrence covered by this policy.

***

                         EXCLUSIONS - SECTION II



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Coverage D - Personal Liability and Coverage E – Medical
Expense do not apply to:

***

11. Intra-insured Suits. We will not cover bodily injury to any
insured.

***

      On October 8, 2017, Case and Steven allegedly assembled a deer stand on a

family friend’s farm in Scotland County, Missouri. While Case was kneeling atop

the newly assembled deer stand, he alleges electricity ‘arced,’ or was otherwise

conducted, from a Northeast Power electric line electrocuting Case, throwing him

of the deer stand, and causing bodily injury and resulting damages

      On February 5, 2019, Case filed a Petition in the Circuit Court of Scotland

County, Missouri, identified as Cause No.: 19SE-CC00007 (“Petition”), alleging

that Northeast Power is liable to Case for damages arising from bodily injury he

incurred in the Accident. (the “Underlying Lawsuit”).

      On November 4, 2022, Case filed a First Amended Petition. Also on

November 4, 2022, Northeast Power filed its Third-Party Petition in the

Underlying Lawsuit, alleging that Steven’s joint activity with Case in assembling

and erecting a deer stand – directly underneath and within 10-feet of Northeast’s

overhead power lines – was careless, negligent, and/or violated other duties arising



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under Missouri law, which caused and/or contributed to cause Case’s Bodily Injury

and resultant damages alleged in the First Amended Petition (the “Third-Party

Petition”). This Third-Party Petition has been dismissed without prejudice.

      The insured premises occupied by the Named Inured is located at: “7912

Hartman Farm Road, Fulton, MO 65251.” On October 8, 2017, when the alleged

accident occurred, Steven was the policyholder and a “Named Insured” identified

in the Policy’s Declarations.

      There is no dispute that Case is Steven’s son. Further, there is no dispute that

at all relevant times, including October 8, 2017, when the alleged accident

occurred, Case was a resident of Steven’s household.

      Plaintiff moves for summary judgment asserting that the Policy contains an

intra-insured exclusion under which there is no liability coverage provided for

bodily injury to an insured. Plaintiff argues that Case falls within the Policy's

definition of “insured” because he is Steven’s son living with Steven at the time of

the accident alleged in the State Action. Plaintiff argues that because there is no

liability coverage under the Policy for a claim brought by one insured against

another insured, it is entitled to summary judgment.

      This is a diversity case and Missouri law applies. The interpretation of an

insurance policy and the determination whether coverage and exclusion provisions

are ambiguous or unambiguous are questions of law for the Court. Burns v. Smith,


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303 S.W.3d 505, 509 (Mo.2010) (en banc); see also D.R. Sherry Constr., Ltd. v.

American Family Mut. Ins. Co., 316 S.W.3d 899, 902 (Mo.2010) (en banc) (“As

with any other contract, the interpretation of an insurance contract is generally a

question of law, particularly in reference to the question of coverage.”).

        “In construing the terms of an insurance policy, this Court applies the
       meaning which would be attached by an ordinary person of average
       understanding if purchasing insurance....” [Seeck v. Geico Gen. Ins. Co., 212
       S.W.3d 129, 132 (Mo. banc 2007)d. (quotation marks omitted).] “Absent an
       ambiguity, an insurance policy must be enforced according to its terms.” Id.
       Notably, “[w]here the policy language has already been judicially defined,”
       no ambiguity exists, and “the judicial definition[ ] assigned to [a] policy
       term [is] controlling.” Walden v. Smith, 427 S.W.3d 269, 274 (Mo. App.
       2014).

Griffitts v. Old Republic Ins. Co., 550 S.W.3d 474, 478 (Mo. banc 2018)

(alterations in original).

       Terms in an insurance contract are to be interpreted according to their plain

meaning. Shahan v. Shahan, 988 S.W.2d 529, 535 (Mo.1999) (en banc). “The

plain or ordinary meaning is the meaning that the average layperson would

understand.” Id. Any ambiguities in insurance policies must be resolved in favor of

the insured. Burns, 303 S.W.3d at 509–10. “Where insurance policies are

unambiguous, the rules of construction are inapplicable, and absent a public policy

to the contrary, the policy will be enforced as written.” Krombach v. Mayflower

Ins. Co., Ltd., 827 S.W.2d 208, 210 (Mo.1992) (en banc) (citations omitted).

Nonetheless, “Insurance policies are to be given a reasonable construction and


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interpreted so as to afford coverage rather than to defeat coverage.” Nixon v. Life

Investors Ins. Co. of America, 675 S.W.2d 676, 679 (Mo.Ct.App.1984).

      “‘An ambiguity exists when there is duplicity, indistinctness, or uncertainty
      in the meaning of the language in the policy.’” Seaton v. Shelter Mut. Ins.
      Co., 574 S.W.3d 245, 247 (Mo. banc 2019) (quoting Taylor v. Bar Plan Mut.
      Ins. Co., 457 S.W.3d 340, 344 (Mo. banc 2015)). Ambiguous language also
      exists when the language “ ‘is reasonably open to different constructions.’ ”
      Seeck, 212 S.W.3d at 132 (quoting Gulf Ins. Co. v. Noble Broad., 936
      S.W.2d 810, 814 (Mo. banc 1997)). “Any ambiguity is resolved in favor of
      the insured.” Swadley v. Shelter Mut. Ins. Co., 513 S.W.3d 355, 357 (Mo.
      banc 2017) (citing Ritchie v. Allied Prop. & Cas. Ins. Co., 307 S.W.3d 132,
      135 (Mo. banc 2009)). Yet, “[c]ourts may not create an ambiguity when
      none exists.” Doe Run Res. Corp. v. Am. Guarantee & Liab. Ins., 531
      S.W.3d 508, 511 (Mo. banc 2017) (citing Todd v. Mo. United Sch. Ins.
      Council, 223 S.W.3d 156, 160 (Mo. banc 2007)).

Shelter Mut. Ins. Co. 688 S.W.3d at 645.

      “Missouri ... strictly construes exclusionary clauses against the drafter, who

also bears the burden of showing the exclusion applies.” Burns, 303 S.W.3d at 510.

The same rules of construction apply to exclusions, however, as to coverage

provisions. “Where language in an insurance contract is unequivocal, it is to be

given its plain meaning notwithstanding the fact that it appears in a restrictive

provision of a policy.” Harrison v. MFA Mut. Ins. Co., 607 S.W.2d 137, 142

(Mo.1980) (en banc).

      Under Missouri law, the contractual terms and provisions of insurance

policies will be enforced unless they violate public policy. See American Family

Mut. Ins. Co. v. Ward, 789 S.W.2d 791, 795–96 (Mo.1990) (en banc) (Missouri


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Motor Vehicle Safety Responsibility Law did not have effect of invalidating

household exclusion clauses). The instant case involves an “intra-insured,” a

household exclusion which Missouri courts have described as a “limitation or

exclusion from providing coverage for bodily injury to the insured or anyone

connected with the insured by blood or affinity.” Kearbey by Kearbey v. Kinder,

972 S.W.2d 575, 577 n. 1 (Mo.Ct.App.1998).

      Household exclusion provisions have been enforced by Missouri courts on

numerous occasions. See, e.g., State Farm Mut. Auto. Ins. Co. v. Ballmer, 899

S.W.2d 523, 526 (Mo.1995) (en banc) (household exclusion in automobile liability

policy was unambiguous and excluded claim by a member of the insured's family

residing in the insured's household); Jensen v. Allstate Ins. Co., 349 S.W.3d 369,

380 (Mo.Ct.App.2011) (household exclusion that excluded coverage for claim

brought by any person related to insured by marriage and living in the same

household was unambiguous and applied to widow's claim against the insured for

liability coverage over and above the Missouri Motor Vehicle Financial

Responsibility Law's statutory limit of $25,000); Ulsas v. Progressive

Northwestern Ins. Co., 275 S.W.3d 366, 369–70 (Mo.Ct.App.2009) (household

exclusion under liability insurance policy issued for personal watercraft, excluding

coverage for “bodily injury to you or a relative,” precluded coverage for bodily

injury sustained by the named insured's son when his personal watercraft collided


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with the insured watercraft being operated by a permissive user, where the son

resided in same household as the named insured). The policy is unambiguous and

clearly excludes intra-insured actions by Case against Steven.

      Moreover, because Northeast’s action is derivative of Case’s claims, its

claims are barred by the intra-insured exclusion. See, American Family v. Ward,

789 S.W.2d 791, 793 (Mo 1990).

      American Family relies primarily on State Farm Mut. Auto. Ins. Co. v.
      Ward, 340 S.W.2d 635 (Mo.1960). There, the insured was operating a motor
      vehicle when it was involved in a collision. The insured was killed. His wife
      and daughter were injured. The wife and daughter sued the insured's estate
      seeking damages. The insurer brought a declaratory judgment action to
      determine if a clause in the liability insurance policy excluding “any member
      of the family of the insured residing in the same household as the insured”
      from coverage was valid as against the public policy expressed in the Safety
      Responsibility Law, § 303.010, et seq. The Court noted that the provisions
      of § 303.190.2(2) mandate the coverage required in a “motor vehicle liability
      policy.” Id. at 637. However, a “motor vehicle liability policy,” as used in
      the Safety Responsibility Law, meant an insurance policy “certified” as
      proof of financial responsibility under the provisions of § 303.170 or §
      303.180. Id. at 638. The Court said, “ ‘We cannot read into the insurance
      contract, under the guise of public policy, provisions which are not required
      by law and which the parties thereto clearly and plainly have failed to
      include.’ ” Id. at 639 (quoting Barkley v. Int'l Mut. Ins. Co., 227 S.C. 38, 86
      S.E.2d 602, 605 (1955)). Even though a provision in an insurance policy is
      restrictive, the Court reasoned, such provision must be given its plain
      meaning. The Court held that in the absence of certification of the policy, an
      unambiguous and unequivocal family exclusion clause is effective and does
      not violate public policy. Id. That holding was reaffirmed in Harrison v.
      MFA Mut. Ins. Co., 607 S.W.2d 137, 142 (Mo. banc 1980).

          In MFA Mut. Ins. Co. v. Howard Const. Co., 608 S.W.2d 535
      (Mo.App.1980), decided after Whitehead & Kales Co., the question arose as
      to what effect a family exclusion provision in an automobile liability


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      insurance policy would have on a claim for contribution. There, the insured
      was operating a vehicle when it was involved in an accident. The insured
      was killed, and two of the insured's children were injured in the collision.
      One of the children brought suit against Howard Construction Company
      which was engaged in highway repair work near the scene of the accident.
      The suit claimed Howard had negligently failed to post warning signs of the
      repair work. Howard filed a third-party claim against the insured's estate
      seeking contribution for any negligence attributable to the deceased insured.
      A declaratory judgment action was brought by the insurer to determine the
      extent of its liability for contribution. The court began by pointing out that
      because the insured was deceased, the child could maintain an action against
      the insured's estate. Therefore, Howard was permitted to maintain the
      derivative third-party action for contribution under Whitehead & Kales. Id.
      at 538. However, “Insurance policy exposure is neither enhanced nor
      reduced by [the apportionment and contribution] aspect of Whitehead and
      Kales.” Id. After reciting the family exclusion clause, the court stated that
      the clause was plain and unambiguous. Accordingly, the court gave effect to
      the intent of the parties as expressed in the contract. The court deemed it
      unnecessary to decide the public policy issue.

Am. Fam. Mut. Ins. Co. v. Ward, 789 S.W.2d 791, 793 (Mo. 1990). As a claim that

is derivative of Case’s claims, Northeast’s claims for allocation and contribution

are barred by the intra-insured exclusion in the policy.

                                     Conclusion

      For the foregoing reasons, the Court concludes that Plaintiff has met its

burden to establish that the intra-insured exclusion in the Policy applies to preclude

coverage for allocation and contribution for bodily injury suffered by Defendant

Case Simerl. Plaintiff’s Motion for Summary Judgment against Defendant

Northeast should therefore be granted.

      Accordingly,


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     IT IS HEREBY ORDERED that Plaintiff's Motion for Summary

Judgment, as against Defendant Northeast, [Doc. No. 36] is GRANTED.

     A separate judgment is entered this same date.

     Dated this 16th day of April, 2025.




                               ________________________________
                                    HENRY EDWARD AUTREY
                               UNITED STATES DISTRICT JUDGE




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